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Diamond Comics Distributors, Inc                                                                       Case No. 25-10308
AP Aging                                                                                                          Mar-25



    Consolidated
   Diamond Comic
                          CURRENT        1 TO 30        30 TO 60        61 TO 90         OVER 90             TOTAL
   Distributors, Inc



PRODUCT                      2,365,547    4,469,056        536,167        1,290,152                -          8,660,921
NON PRODUCT                     80,949      594,550        442,692           48,305                -          1,166,496
TAXES                              -            -              -                -                  -                -

TOTAL                        2,446,496    5,063,606        978,859        1,338,457                -          9,827,417
